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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
       V.                                            )      Case No. CR 408-102
                                                     )
GLOBAL PIGEON SUPPLY                                 )



                 FINAL ORDER OF FORFEITURE AND DISTRIBUTION

       WHEREAS on September 11, 2008, this Court entered a Preliminary Order of Forfeiture,

ordering Global Pigeon Supply ("the Defendant") to forfeit $53,000.00 in U.S. Currency;

       WHEREAS, in accordance with 21 U.S.C. § 853, notice of the forfeiture of the $53,000.00

in U.S. Currency and the requirements for filing a claim to the property was published on the

government website, www.forfeiture.gov , for thirty (30) consecutive days starting on September26,

2008 and ending on October 26, 2008;

       WHEREAS a Declaration of Publication was filed on November 6, 2008, evidencing said

publication dates;

       WHEREAS, no timely claim has been filed; and

       WHEREAS the Court finds that Defendant had an interest in the property that is subject to

forfeiture pursuant to 18 U.S.C. § 981(a)(1)(c) and 28 U.S.C. § 2461(c).

       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

$53,000.00 in U.S. Currency is hereby forfeited to the United States of America pursuant to 18

U.S.C. § 981(a)(l)(c) and 28 U.S.C. § 2461(c);

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right, title and interest

to the property described above is hereby condemned, forfeited and vested in the United States of
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America, and shall be disposed of by law;

        IT IS FURTHER ORDERED that all expenses of the Department of Justice and the United

States Marshals Service related to the seizure and forfeiture of the subject property, namely $53,000

in U.S. Currency, shall be paid from said U.S. Currency. All remaining funds and proceeds shall

be deposited by the United States Marshals Service into the Department of Justice Assets Forfeiture

Fund, in accordance with 28 U.S.C. §524( c); and

        IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order.

        SO ORDERED this 3         day of               ,2008 in US. v. Global Pigeon Supply,

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                                                            y
                                                        . AVANT EDENFJ1ELD, JJJDGE
                                                       UNITED STATE%DISTRICT COURT
Prepared by: James D. Durham                           SOUTHERN DITRJCT OF GEORGIA
Assistant U.S. Attorney
100 Bull Street, Suite 201
Savannah, Ga 31412-8970
(912) 652-4422
U.S. v. Global Pigeon Supply
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